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 4
     Attorney for Defendant
 5   CUONG DI BUI
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                        2:11-cr-00148 KJM
11                  Plaintiff,

12 v.
13                                                      AMENDED STIPULATION AND ORDER TO
     CUONG DI BUI, ET AL.,                              CONTINUE STATUS CONFERENCE
14
                    Defendants.
15
16
17                                                                        STIPULATION
18          Plaintiff, United States of America, by and through its counsel, Assistant United States
19 Attorney Todd A. Pickles; defendant, Tan Nan Lin, by and through his counsel, Steven F. Gruel,
20 defendant Huang Yu Lun, by and through his counsel, Olaf Hedberg, defendant Luong Dau Moc, by
21 and through his counsel Dan Koukol, defendant Tom Tran, by and through his counsel, Michael
22 Bigelow, defendant Henry Lam, by and through his counsel, Matthew M. Scobel, and defendant
23 Cuong Di Bui, by and through his counsel, Erin J. Radekin, agree and stipulate to vacate the date set
24 for status conference, July 7, 2011 at 10:00 a.m., in the above-captioned matter, and to continue the
25 status conference to September 15, 2011 at 10:00 a.m. in the courtroom of the Honorable Kimberly J.
26 Mueller.
27          The reason for this request is that additional time is needed for defendants’ counsel to obtain
28 and review discovery, and for additional defense preparation and investigation. The Court is advised
     that Mr. Pickles, Mr. Greul, Mr. Hedberg, Mr. Koukol, Mr. Bigelow, and Mr. Scobel concur with this
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 1 request and have authorized Ms. Radekin to sign this stipulation on their behalf.
 2          The parties further agree and stipulate that the time period from the filing of this stipulation
 3 until September 15, 2011 should be excluded in computing time for commencement of trial under the
 4 Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local
 5 Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 6 preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 7 outweigh the best interests of the public and the defendant in a speedy trial.
 8          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 9 IT IS SO STIPULATED
10 Dated: July 5, 2011                                      BENJAMIN WAGNER
                                                            United States Attorney
11
                                                      By:         /s/ Todd A. Pickles
12                                                          TODD A. PICKLES
                                                            Assistant United States Attorney
13
14 Dated: July 5, 2011                                            /s/ Steven F. Greul
                                                            STEVEN F. GRUEL
15                                                          Attorney for Defendant
                                                            TAN NAN LIN
16
     Dated: July 5, 2011                                          /s/ Olaf Hedberg
17                                                          OLAF HEDBERG
                                                            Attorney for Defendant
18                                                          HUANG YU LUN
19 Dated: July 5, 2011                                            /s/ Dan Koukol
                                                            DAN KOUKEL
20                                                          Attorney for Defendant
                                                            LUONG DAU MOC
21
22 Dated: July 5, 2011                                            /s/ Michael Bigelow
                                                            MICHAEL BIGELOW
23                                                          Attorney for Defendant
                                                            TOM TRAN
24
25 Dated: July 5, 2011                                            /s/ Matthew M. Scobel
                                                            MATTHEW M. SCOBEL
26                                                          Attorney for Defendant
                                                            HENRY LAM
27 / / /
28 / /


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 1 Dated: July 5, 2011                                          /s/ Erin J. Radekin
                                                          ERIN J. RADEKIN
 2                                                        Attorney for Defendant
                                                          CUONG DI BUI
 3
 4                                                  ORDER
 5         For the reasons set forth in the accompanying stipulation and declaration of counsel, and
 6 taking account of the arraignment date of May 5, 2011, and Mr. Gruel’s appearance on June 8, 2011,
 7 the status conference date of July 7, 2011 at 10:00 a.m. is VACATED and the above-captioned matter
 8 is set for status conference on September 15, 2011 at 10:00 a.m. The Court finds excludable time in
 9 this matter through September 15, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to
10 allow continuity of counsel and to allow reasonable time necessary for effective defense preparation.
11 For the reasons stipulated by the parties, the Court finds that the interest of justice served by granting
12 the request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§
13 3161(h)(7)(A), (h)(7)(B)(iv).
14         IT IS SO ORDERED.
15 Dated: July 6, 2011.
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                                                              UNITED STATES DISTRICT JUDGE
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